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     Attorney(s) for Display Technologies, LLC
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15                     IN THE UNITED STATES DISTRICT COURT
16                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
17

18
      DISPLAY TECHNOLOGIES, LLC,                   CASE NO.: 5:22-cv-00219-EJD

19                        Plaintiff,               NOTICE OF MOTION AND
                                                   PLAINTIFF’S MOTION FOR
20    v.
                                                   DEFAULT JUDGMENT
21
      MOCACARE CORP.,
                                                   Date: December 15, 2022
22
                          Defendant.               Time: 9:00 a.m.
23
                                                   Courtroom: Courtroom 4, 5th floor
                                                   Judge: Hon. Edward J. Davila
24
                                       NOTICE OF MOTION
25
             TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
26
             PLEASE TAKE NOTICE that, on December 15, 2022, at 9:00 a.m., or as soon
27
     thereafter as the motion may be heard, in the courtroom of the Honorable Edward J.
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                  NOTICE OF MOTION AND PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT
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 1   Davilla located at the United States District Court for the Northern District of
 2   California, Robert F. Peckham Federal Building, San Jose in Courtroom 4, 5th Floor,
 3   Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) will and hereby do
 4   move for default judgment against Defendant Mocacare Corp.
 5         This Motion is based upon this Notice of Motion and Motion, the pleadings and
 6   papers filed herein, and upon such other matters as may be presented to the Court at the
 7   time of the hearing.
 8

 9   Dated: July 14, 2022                   Respectfully submitted,
10
                                            /s/Jay Johnson
11                                          JAY JOHNSON (admitted pro hac vice)
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                                            D. BRADLEY KIZZIA
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24                                          Attorney(s) for Plaintiff
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                 NOTICE OF MOTION AND PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT
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 1         TO THE HON. EDWARD J. DAVILA, UNITED STATES DISTRICT
 2   JUDGE, NORTHERN DISTRICT OF CALIFORNIA:
 3         Pursuant to Fed. R. Civ. P. 55(a) and Local Civil Rule 55.3, Plaintiff Display
 4   Technologies, LLC (“Plaintiff” and/or “Display”) brings this Motion for Default
 5   Judgment against Defendant, Mocacare Corp. (“Defendant” and/or “Mocacare”), and
 6   in support, states:
 7                                             I.
 8                                      BACKGROUND
 9         1.     On January 12, 2022, Plaintiff filed a Summons (Doc. 3) and Complaint
10   (Doc. 1) against Defendant, alleging infringement of U.S. Patent No. 9,300,723 under
11   35 U.S.C. §§271. See, Exhibit 1.
12         2.     On March 17, 2022, Plaintiff’s process server personally served Defendant
13   with the Summons and Complaint at Defendant’s registered agent Harvard Business
14   Services at 16192 Coastal Hwy, Lewes, DE 19958 (Doc. 15).
15         3.     Pursuant to Federal Rule of Civil Procedure 12(a)(1)(A)(i), Defendant was
16   required to answer or otherwise respond to the Complaint by April 7, 2022. Defendant
17   failed to do so.
18         4.     On May 3, 2022, Plaintiff requested a Clerk’s Certificate of Default
19   pursuant to Local Civil Rule 55.1 and Federal Rule of Civil Procedure 55(a) (Doc. 17).
20         5.     On March 9, 2022, the Clerk of the Court issued the Clerk’s Certificate of
21   Default (Doc. 18). See, Exhibit 2.
22                                             II.
23                                  LEGAL STANDARD
24         6.     “Federal Rule of Civil Procedure 55 provides a two-step process that the
25   Court must follow before it may enter a default judgment against a defendant.’” Elec.
26   Creations Corp. v. Gigahertz, Inc., No. 12-CV-1423, 2013 WL 3229125, at *3 (quoting
27   Robertson v. Doe, No. 05-CV-7046, 2008 WL 2519894, at *3 (S.D.N.Y. June 19,
28   2008)).
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                  NOTICE OF MOTION AND PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT
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 1         7.     First, under Rule 55(a), when a party fails to plead or otherwise defend . .
 2   . the clerk must enter the party’s default. Second, pursuant to Rule 55(b)(2), the party
 3   seeking default judgment is required to present its application for entry of judgment to
 4   the court. . . . Notice of the application must be sent to the defaulting party so that it has
 5   an opportunity to show cause why the court should not enter a default judgment.
 6         8.     Whether entry of default judgment at the second step is appropriate
 7   depends upon whether the allegations against the defaulting party are well-pleaded. See
 8   Mickalis Pawn Shop, 645 F.3d at 137.
 9         9.     The legal sufficiency of these claims is analyzed under the familiar
10   plausibility standard enunciated in Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570
11   (2007), and Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009), aided by the additional step of
12   drawing inferences in the movant's favor. Belizare, 61 F. Supp. 3d at 344.
13                                                III.
14                           DEFAULT JUDGMENT IS PROPER
15         10.    Local Civil Rule 55.3 and Federal Rule of Civil Procedure 55 authorizes
16   Plaintiff to seek, and the Court to enter, default judgment against a party who has failed
17   to plead or otherwise defend an action.
18         11.    The Court possess jurisdiction over this action pursuant to Section
19   pursuant to 28 U.S.C §§ 1331. Venue properly lies with this Court pursuant to 28 USC
20   §1400(b) because Defendant is deemed to be a resident of this District and alternatively,
21   Defendant committed the acts of infringement alleged in the Complaint within this
22   District. See, Exhibit 1, Complaint ¶7.
23         12.    Defendant has not shown a meritorious defense to the action.
24         13.    Plaintiff will suffer prejudice if default judgment is not entered.
25                                                IV.
26                                    RELIEF REQUESTED
27         14.    Section 284 of the Patent Statute (35 U.S. Code § 284) envisages that a
28   patentee is entitled to damages which are adequate to compensate for any kind of
                                                4
                  NOTICE OF MOTION AND PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT
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 1   infringement of his patents and that said compensation cannot be less than a reasonable
 2   royalty for the use made of the invention by the infringer.
 3         15.    Plaintiff respectfully submits that damages should be based upon a
 4   reasonable royalty and that the reasonably royalty should be calculated as set forth in
 5   the Attorney’s Declaration. See, Exhibit 3, ¶ 7-16.
 6         16.    The amount of reasonable royalty according to this calculation is:
 7   $103,750.00.
 8         17.    At minimum, damages should be no lower than $22,166.67.
 9         18.    Plaintiff respectfully requests this Court to enter a default judgment in
10   favor of the Plaintiff ordering Defendant to pay Plaintiff damages in the amount of
11   $103,750.00, but no less than $22,166.67.
12   Dated: July 14, 2022                   Respectfully submitted,
13
                                            /s/Jay Johnson
14                                          JAY JOHNSON (admitted pro hac vice)
15                                          State Bar No. 24067322
                                            D. BRADLEY KIZZIA
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27                                          Attorney(s) for Plaintiff
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                 NOTICE OF MOTION AND PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT
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 1                            CERTIFICATE OF SERVICE
 2         I hereby certify that on July 14, 2022, I electronically transmitted the foregoing
 3   document using the CM/ECF system for filing, which will transmit the document
 4   electronically to all registered participants as identified on the Notice of Electronic
 5   Filing, and paper copies have been served on those indicated as non-registered
 6   participants.
 7
                                           /s/Jay Johnson
                                           JAY JOHNSON (admitted pro hac vice)
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